Case No. 1:19-cv-00874-RBJ-MEH Document 224-4 filed 07/30/20 USDC Colorado pg 1
                                    of 14




                          Exhibit 2
Case No. 1:19-cv-00874-RBJ-MEH Document 224-4 filed 07/30/20 USDC Colorado pg 2
                                    of 14


   From:             Ranahan, Erin
   To:               Fields, Michael; Anderson, Sean; Ehlers, J. Hardy; Kamin, Mitchell A; Sperling, Jonathan; Sahni, Neema T;
                     Lampros, Nicholas M.; Hill, Phil; Jeff Gould; Scott Zebrak; Matt Oppenheim
   Cc:               Skopec, Allison; Elkin, Michael; Spitzer, Seth; Golinveaux, Jennifer; Lane, Thomas; Alvarez, Cesie; Padmanabhan,
                     Krishnan; charlesverhoeven@quinnemanuel.com; davideiseman@quinnemanuel.com; Andrew Schapiro; Jessica
                     Rose
   Subject:          RE: Warner Records v. Charter Communications; Case No. 19-cv-00874 - Notice Pursuant to Protective Order
   Date:             Monday, July 27, 2020 5:07:11 PM


   Michael,

   This goes beyond what we discussed. We agreed that Mr. Coleman would sign an addendum to
   agree not to solicit class members or solicit new audit customers based on his engagement here, and
   would abide by the Protective Order. Your proposal below appears to limit the scope of his
   testimony and prevent him from testifying from his knowledge and experience, which is
   inappropriate.

   If you would like to schedule a call to discuss further, please let us know.

   Regards,

   -Erin

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   Partner
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   From: Fields, Michael <MFields@cov.com>
   Sent: Thursday, July 23, 2020 6:44 PM
   To: Anderson, Sean <SRanderson@winston.com>; Ranahan, Erin <ERanahan@winston.com>; Ehlers,
   J. Hardy <JEhlers@cov.com>; Kamin, Mitchell A <MKamin@cov.com>; Sperling, Jonathan
   <jsperling@cov.com>; Sahni, Neema T <nsahni@cov.com>; Lampros, Nicholas M.
   <nlampros@cov.com>; Hill, Phil <PAHill@cov.com>; Jeff Gould <Jeff@oandzlaw.com>; Scott Zebrak
   <Scott@oandzlaw.com>; Matt Oppenheim <Matt@oandzlaw.com>
   Cc: Skopec, Allison <ASkopec@winston.com>; Elkin, Michael <MElkin@winston.com>; Spitzer, Seth
   <SSpitzer@winston.com>; Golinveaux, Jennifer <JGolinveaux@winston.com>; Lane, Thomas
   <TLane@winston.com>; Alvarez, Cesie <CAlvarez@winston.com>; Padmanabhan, Krishnan
   <KPadmanabhan@winston.com>; charlesverhoeven@quinnemanuel.com;
   davideiseman@quinnemanuel.com; Andrew Schapiro <andrewschapiro@quinnemanuel.com>;
   Jessica Rose <jessicarose@quinnemanuel.com>
   Subject: RE: Warner Records v. Charter Communications; Case No. 19-cv-00874 - Notice Pursuant to
   Protective Order

   Erin,
Case No. 1:19-cv-00874-RBJ-MEH Document 224-4 filed 07/30/20 USDC Colorado pg 3
                                    of 14



   Following up on our conferral earlier this week, Plaintiffs are amenable to your proposal of having
   Mr. Coleman sign an addendum to the Protective Order in this action, specifically agreeing to abide
   by certain nondisclosure requirements to which he is already bound, prior to obtaining access to any
   of Plaintiffs' confidential or highly confidential information. Consistent with what we discussed, we
   would require that Mr. Coleman agree in a signed writing:

       ·        Not to use, disclose, or share any nonpublic information learned in this engagement --
                including but not limited to the terms of artist or publishing agreements, artist contact
                information, or even potential artist names -- with counsel in any other pending or future
                actions in which he serves as a consultant or expert adverse to any of the Plaintiffs;

       ·        Not to use, disclose, or share in this case, including with Charter, Bright House, or their
                counsel, any nonpublic information learned in the course of his engagement as a consultant
                in any other pending action adverse to any of the plaintiffs;

       ·        Not to disclose or share in this case, including with Charter, Bright House, or their counsel,
                any nonpublic information learned in the course of any of his engagements as a royalty
                auditor adverse to any of the Plaintiffs; and

       ·        Not to use, disclose, or share any nonpublic information learned in this engagement --
                including but not limited to the terms of artist or publishing agreements, DSP agreements, or
                otherwise -- in any audits adverse to any of the Plaintiffs, or to identify or solicit clients for
                future audits.

   Please confirm in writing that we are in agreement on this, and please send us a draft addendum for
   review. Upon Mr. Coleman's execution of the same, we will withdraw our objection.

   Best,
   Michael

   Michael Fields
   Pronouns: He/Him/His

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   Los Angeles, CA 90067-4643
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   From: Fields, Michael
   Sent: Tuesday, July 21, 2020 3:12 PM
   To: 'Anderson, Sean' <SRanderson@winston.com>; Ranahan, Erin <ERanahan@winston.com>;
   Ehlers, J. Hardy <JEhlers@cov.com>; Kamin, Mitchell A <MKamin@cov.com>; Sperling, Jonathan
   <jsperling@cov.com>; Sahni, Neema T <nsahni@cov.com>; Lampros, Nicholas M.
Case No. 1:19-cv-00874-RBJ-MEH Document 224-4 filed 07/30/20 USDC Colorado pg 4
                                    of 14


   <nlampros@cov.com>; Hill, Phil <PAHill@cov.com>; Jeff Gould <Jeff@oandzlaw.com>; Scott Zebrak
   <Scott@oandzlaw.com>; Matt Oppenheim <Matt@oandzlaw.com>
   Cc: Skopec, Allison <ASkopec@winston.com>; Elkin, Michael <MElkin@winston.com>; Spitzer, Seth
   <SSpitzer@winston.com>; Golinveaux, Jennifer <JGolinveaux@winston.com>; Lane, Thomas
   <TLane@winston.com>; Alvarez, Cesie <CAlvarez@winston.com>; Padmanabhan, Krishnan
   <KPadmanabhan@winston.com>; charlesverhoeven@quinnemanuel.com;
   davideiseman@quinnemanuel.com; Andrew Schapiro <andrewschapiro@quinnemanuel.com>;
   Jessica Rose <jessicarose@quinnemanuel.com>
   Subject: RE: Warner Records v. Charter Communications; Case No. 19-cv-00874 - Notice Pursuant to
   Protective Order

   Counsel,

   Thank you for taking the time to meet and confer regarding Plaintiffs' objections to Mr. Coleman.
   We write to memorialize our discussion.

       ·        As to the first of your proposals below, you proposed that Mr. Coleman sign a separate
                document affirming what he is already bound to under the Protective Order -- that he will
                not disclose artist names, agreements, the terms of those agreements, or contact
                information to plaintiff's counsel in the purported class actions in which he has served as a
                consultant, and not use any information learned in this case to recruit additional class
                members in those cases. (We separately explained that we are unsure what meaning you
                attribute to the words "formally engaged," but that Mr. Coleman has been identified and
                appeared as a consultant in at least one of the cases, creating the risks identified by Plaintiffs
                in their objection.) We will consider your proposal on this issue and get back to you.

       ·        You also clarified your second proposal -- that only artist/publishing agreements for
                artists/writers for whom Mr. Coleman is currently performing an audit would be redacted;
                all other agreements, including the DSP agreements, would be provided to Mr. Coleman in
                unredacted form. You also asked whether there are any artists at issue in this case for
                whom Mr. Coleman is presently conducting an audit. We explained that this is irrelevant to
                Plaintiffs' concerns, which relate to (1) Mr. Coleman's ability to identify new clients for future
                audits, and (2) his access to agreements concerning artists/writers whom he is not presently
                representing in an audit. To be clear, the latter concern is that Mr. Coleman would receive
                unfettered access to agreements of others and use that information in the audits in which he
                is engaged (or in future audits). Your second proposal does not address either of Plaintiffs'
                concerns.

   Best,
   Michael

   Michael Fields
   Pronouns: He/Him/His

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   Los Angeles, CA 90067-4643
Case No. 1:19-cv-00874-RBJ-MEH Document 224-4 filed 07/30/20 USDC Colorado pg 5
                                    of 14


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   From: Anderson, Sean <SRanderson@winston.com>
   Sent: Monday, July 20, 2020 12:57 PM
   To: Fields, Michael <MFields@cov.com>; Ranahan, Erin <ERanahan@winston.com>; Ehlers, J. Hardy
   <JEhlers@cov.com>; Kamin, Mitchell A <MKamin@cov.com>; Sperling, Jonathan
   <jsperling@cov.com>; Sahni, Neema T <nsahni@cov.com>; Lampros, Nicholas M.
   <nlampros@cov.com>; Hill, Phil <PAHill@cov.com>; Jeff Gould <Jeff@oandzlaw.com>; Scott Zebrak
   <Scott@oandzlaw.com>; Matt Oppenheim <Matt@oandzlaw.com>
   Cc: Skopec, Allison <ASkopec@winston.com>; Elkin, Michael <MElkin@winston.com>; Spitzer, Seth
   <SSpitzer@winston.com>; Golinveaux, Jennifer <JGolinveaux@winston.com>; Lane, Thomas
   <TLane@winston.com>; Alvarez, Cesie <CAlvarez@winston.com>; Padmanabhan, Krishnan
   <KPadmanabhan@winston.com>; charlesverhoeven@quinnemanuel.com;
   davideiseman@quinnemanuel.com; Andrew Schapiro <andrewschapiro@quinnemanuel.com>;
   Jessica Rose <jessicarose@quinnemanuel.com>
   Subject: RE: Warner Records v. Charter Communications; Case No. 19-cv-00874 - Notice Pursuant to
   Protective Order

   [EXTERNAL]
   Michael,

   Plaintiffs’ objections are entirely unfounded and without merit. But in an effort to avoid unnecessary
   motion practice, we have a proposal that we believe should prove satisfactory to Plaintiffs.

   First, Mr. Coleman has not been formally engaged in the class actions Plaintiffs reference in their
   motion. That said, Mr. Coleman will agree not to use any of the information Plaintiffs designate
   pursuant to the Protective Order in this case to “recruit” potential class members in these class
   actions. While Mr. Coleman does not engage in such activity, Mr. Coleman is willing to sign an
   amendment to the Protective Order that states that he will not do so during the pendency of this
   case. It should be noted that the Protective Order already precludes such activity, so this is entirely
   unnecessary. But, in order to address Plaintiffs’ unfounded objections, Charter proposes this further
   assurance.

   Second, Charter agrees that it will not provide Mr. Coleman with un-redacted versions of artist
   agreements regarding artists on whose behalf Mr. Coleman is currently engaged in royalty audits
   adverse to Plaintiffs, to the extent Mr. Coleman has not already been provided with copies of those
   agreements. In connection with this proposal, Charter would require Plaintiffs to identify all such
   royalty audits Plaintiffs believe qualify, the agreements produced in this case to which Mr. Coleman
   has not otherwise been provided access, and the redactions Plaintiffs believe necessary. The parties
   would agree to meet and confer in good faith in connection with this procedure. To be clear, this
   proposal would not extend to the Digital Service Provider agreements. Further, Charter reserves the
   right to remove redactions upon the completion of any qualifying royalty audit, the occurrence of
   which Plaintiffs would be required to provide notice to Charter. Charter also reserves the right to
Case No. 1:19-cv-00874-RBJ-MEH Document 224-4 filed 07/30/20 USDC Colorado pg 6
                                    of 14


   amend the proposed redactions with Plaintiffs should the need arise at a different point in the case.

   We are available to meet and confer tomorrow, if necessary.

   Regards

   Sean R. Anderson
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   M: +1 734-693-5457
   F: +1 212-294-4700
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   From: Fields, Michael <MFields@cov.com>
   Sent: Friday, July 17, 2020 5:35 PM
   To: Ranahan, Erin <ERanahan@winston.com>; Ehlers, J. Hardy <JEhlers@cov.com>; Kamin, Mitchell
   A <MKamin@cov.com>; Sperling, Jonathan <jsperling@cov.com>; Sahni, Neema T
   <nsahni@cov.com>; Lampros, Nicholas M. <nlampros@cov.com>; Hill, Phil <PAHill@cov.com>; Jeff
   Gould <Jeff@oandzlaw.com>; Scott Zebrak <Scott@oandzlaw.com>; Matt Oppenheim
   <Matt@oandzlaw.com>
   Cc: Skopec, Allison <ASkopec@winston.com>; Elkin, Michael <MElkin@winston.com>; Spitzer, Seth
   <SSpitzer@winston.com>; Golinveaux, Jennifer <JGolinveaux@winston.com>; Lane, Thomas
   <TLane@winston.com>; Alvarez, Cesie <CAlvarez@winston.com>; Padmanabhan, Krishnan
   <KPadmanabhan@winston.com>; Anderson, Sean <SRanderson@winston.com>
   Subject: RE: Warner Records v. Charter Communications; Case No. 19-cv-00874 - Notice Pursuant to
   Protective Order

   Erin,

   I wanted to follow up on my email below, to see if Charter can provide a response to our questions.
   As we've noted, we'd like to reach a compromise on this issue, without having to involve the Court.

   Best,
   Michael


   Michael Fields
   Pronouns: He/Him/His

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Case No. 1:19-cv-00874-RBJ-MEH Document 224-4 filed 07/30/20 USDC Colorado pg 7
                                    of 14




   From: Fields, Michael
   Sent: Thursday, July 9, 2020 5:36 PM
   To: 'Ranahan, Erin' <ERanahan@winston.com>; Ehlers, J. Hardy <JEhlers@cov.com>; Kamin, Mitchell
   A <MKamin@cov.com>; Sperling, Jonathan <jsperling@cov.com>; Sahni, Neema T
   <nsahni@cov.com>; Lampros, Nicholas M. <nlampros@cov.com>; Hill, Phil <PAHill@cov.com>; Jeff
   Gould <Jeff@oandzlaw.com>; Scott Zebrak <Scott@oandzlaw.com>; Matt Oppenheim
   <Matt@oandzlaw.com>
   Cc: Skopec, Allison <ASkopec@winston.com>; Elkin, Michael <MElkin@winston.com>; Spitzer, Seth
   <SSpitzer@winston.com>; Golinveaux, Jennifer <JGolinveaux@winston.com>; Lane, Thomas
   <TLane@winston.com>; Alvarez, Cesie <CAlvarez@winston.com>; Padmanabhan, Krishnan
   <KPadmanabhan@winston.com>; Anderson, Sean <SRanderson@winston.com>
   Subject: RE: Warner Records v. Charter Communications; Case No. 19-cv-00874 - Notice Pursuant to
   Protective Order

   Erin,

   Thank you for your response. Is Charter willing to explain, at least in general terms, how redactions
   to the identifying information of counterparties would limit Mr. Coleman's ability to conduct
   substantive analysis? We think that would be helpful in order to understand how the parties might
   reach a compromise here. Relatedly, is there any form of redactions to identifying information that
   would be agreeable to Charter?

   Alternatively, is Mr. Coleman willing to withdraw as an expert, advisor, or auditor in other matters
   adverse to Plaintiffs?

   Best,
   Michael


   Michael Fields
   Pronouns: He/Him/His

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   From: Ranahan, Erin <ERanahan@winston.com>
   Sent: Wednesday, July 8, 2020 7:10 PM
   To: Fields, Michael <MFields@cov.com>; Ehlers, J. Hardy <JEhlers@cov.com>; Kamin, Mitchell A
   <MKamin@cov.com>; Sperling, Jonathan <jsperling@cov.com>; Sahni, Neema T <nsahni@cov.com>;
   Lampros, Nicholas M. <nlampros@cov.com>; Hill, Phil <PAHill@cov.com>; Jeff Gould
   <Jeff@oandzlaw.com>; Scott Zebrak <Scott@oandzlaw.com>; Matt Oppenheim
Case No. 1:19-cv-00874-RBJ-MEH Document 224-4 filed 07/30/20 USDC Colorado pg 8
                                    of 14


   <Matt@oandzlaw.com>
   Cc: Skopec, Allison <ASkopec@winston.com>; Elkin, Michael <MElkin@winston.com>; Spitzer, Seth
   <SSpitzer@winston.com>; Golinveaux, Jennifer <JGolinveaux@winston.com>; Lane, Thomas
   <TLane@winston.com>; Alvarez, Cesie <CAlvarez@winston.com>; Padmanabhan, Krishnan
   <KPadmanabhan@winston.com>; Anderson, Sean <SRanderson@winston.com>
   Subject: RE: Warner Records v. Charter Communications; Case No. 19-cv-00874 - Notice Pursuant to
   Protective Order

   [EXTERNAL]
   Michael,

   We cannot agree to Plaintiffs’ proposal. We do not believe Plaintiffs’ concerns that Mr. Coleman
   would be involved or motivated to “recruit named plaintiffs” for an unrelated class action are well-
   founded, and we do not consent to any redactions that would limit his ability to conduct substantive
   analysis in this case.

   Regards,

   -Erin

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   From: Fields, Michael <MFields@cov.com>
   Sent: Tuesday, July 7, 2020 2:16 PM
   To: Ranahan, Erin <ERanahan@winston.com>; Ehlers, J. Hardy <JEhlers@cov.com>; Kamin, Mitchell
   A <MKamin@cov.com>; Sperling, Jonathan <jsperling@cov.com>; Sahni, Neema T
   <nsahni@cov.com>; Lampros, Nicholas M. <nlampros@cov.com>; Hill, Phil <PAHill@cov.com>; Jeff
   Gould <Jeff@oandzlaw.com>; Scott Zebrak <Scott@oandzlaw.com>; Matt Oppenheim
   <Matt@oandzlaw.com>
   Cc: Skopec, Allison <ASkopec@winston.com>; Elkin, Michael <MElkin@winston.com>; Spitzer, Seth
   <SSpitzer@winston.com>; Golinveaux, Jennifer <JGolinveaux@winston.com>; Lane, Thomas
   <TLane@winston.com>; Alvarez, Cesie <CAlvarez@winston.com>; Padmanabhan, Krishnan
   <KPadmanabhan@winston.com>; Anderson, Sean <SRanderson@winston.com>
   Subject: RE: Warner Records v. Charter Communications; Case No. 19-cv-00874 - Notice Pursuant to
   Protective Order

   Counsel:

   In an effort to resolve Plaintiffs' objections to Mr. Coleman on an informal basis, we propose the
Case No. 1:19-cv-00874-RBJ-MEH Document 224-4 filed 07/30/20 USDC Colorado pg 9
                                    of 14


   following compromise to alleviate at least some of Plaintiffs' concerns, particularly as it relates to
   Mr. Coleman's ability to recruit named plaintiffs for the royalty class action(s) on which he is
   consulting.

   You stated on our meet-and-confer that, among other materials, you intend to give Mr. Coleman
   access to Plaintiffs' highly confidential artist agreements, publishing or administration agreements,
   and Digital Service Provider agreements. We propose that Mr. Coleman be provided such access
   only after those documents have been sufficiently redacted and anonymized by Plaintiffs' counsel to
   prevent disclosure of the identity of the counterparties. Although you've refused to provide
   information on the specific topics or subjects on which Mr. Coleman would opine, we do not believe
   the identity of the counterparties would be relevant to any subjects on which Mr. Coleman might
   possibly consult or opine, and this compromise therefore would allow him to perform his role as an
   expert or consultant while reducing the serious risk of harm to Plaintiffs. If Charter agrees, Plaintiffs
   will withdraw their objections.

   Best,
   Michael

   Michael Fields
   Pronouns: He/Him/His

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   From: Fields, Michael
   Sent: Thursday, July 2, 2020 5:53 PM
   To: 'Ranahan, Erin' <ERanahan@winston.com>; Ehlers, J. Hardy <JEhlers@cov.com>; Kamin, Mitchell
   A <MKamin@cov.com>; Sperling, Jonathan <jsperling@cov.com>; Sahni, Neema T
   <nsahni@cov.com>; Lampros, Nicholas M. <nlampros@cov.com>; Hill, Phil <PAHill@cov.com>; 'Jeff
   Gould' <Jeff@oandzlaw.com>; 'Scott Zebrak' <Scott@oandzlaw.com>; 'Matt Oppenheim'
   <Matt@oandzlaw.com>
   Cc: 'Skopec, Allison' <ASkopec@winston.com>; 'Elkin, Michael' <MElkin@winston.com>; 'Spitzer,
   Seth' <SSpitzer@winston.com>; 'Golinveaux, Jennifer' <JGolinveaux@winston.com>; 'Lane, Thomas'
   <TLane@winston.com>; 'Alvarez, Cesie' <CAlvarez@winston.com>; 'Padmanabhan, Krishnan'
   <KPadmanabhan@winston.com>; 'Anderson, Sean' <SRanderson@winston.com>
   Subject: RE: Warner Records v. Charter Communications; Case No. 19-cv-00874 - Notice Pursuant to
   Protective Order

   Counsel:

   Pursuant to Section 14(b) of the Stipulated Protective Order, Plaintiffs object to Charter's
   designation of Wayne Coleman as a “Qualified Person” to whom Charter may provide Plaintiffs’
Case No. 1:19-cv-00874-RBJ-MEH Document 224-4 filed 07/30/20 USDC Colorado pg 10
                                    of 14


   Confidential and Highly Confidential materials. As explained below, disclosure of such materials to
   Mr. Coleman will expose Plaintiffs to “risk of serious harm.”

   First, Mr. Coleman has been designated as a consultant in a royalty class action against one Plaintiff
   entity, in which plaintiffs’ counsel have sought access to the royalty terms in other artist
   agreements, but discovery has neither commenced nor been permitted. If designated as a
   “Qualified Person,” Mr. Coleman would have access to thousands of such artist agreements that
   have not been authorized for disclosure in that action, which presents a substantial risk that those
   materials could be improperly used to inform the prosecution of that action and the recruitment of
   potential additional named plaintiffs.

   Second, Mr. Coleman frequently performs royalty audits of Plaintiffs on behalf of artists. Indeed, he
   is currently involved in several such audits. In connection with this work, Mr. Coleman, like other
   auditors, does not receive access to certain highly sensitive materials, such as the Digital Service
   Provider agreements being produced by Plaintiffs here. Nor does he receive blanket access to
   Plaintiffs’ agreements with its artists. If designated as a “Qualified Person,” Mr. Coleman would
   receive access to such materials, which may then be improperly used in Mr. Coleman’s auditing
   work.

   Third, in connection with his royalty audits of Plaintiffs, Mr. Coleman routinely executes non-
   disclosure agreements.   It is difficult to imagine how Mr. Coleman could consult on issues relating to
   Plaintiffs’ agreements with artists, royalty calculations, or royalty practices without necessarily
   violating those non-disclosure agreements.

   In light of the foregoing, the Protective Order in this case is insufficient to protect Plaintiffs’
   information against unauthorized use or disclosure by Mr. Coleman. Put simply, Mr. Coleman
   cannot "unlearn" what he learns through his work on this case, and it would be impossible for
   Plaintiffs to police (or even learn of) any unauthorized use or disclosure of their highly confidential
   information--whether use and disclosure in future audits of information learned in this matter, or
   use and disclosure in this matter of information learned in prior audits.

   Please let us know if you are available on Monday, July 6 to confer. As previously requested, to
   facilitate that conferral, we request specificity as to the topics and subjects on which Mr. Coleman
   will be asked to opine and the materials to which he will be given access. Thank you.

   Best,
   Michael

   Michael Fields
   Pronouns: He/Him/His

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Case No. 1:19-cv-00874-RBJ-MEH Document 224-4 filed 07/30/20 USDC Colorado pg 11
                                    of 14



   From: Fields, Michael
   Sent: Wednesday, July 1, 2020 12:12 PM
   To: 'Ranahan, Erin' <ERanahan@winston.com>; Ehlers, J. Hardy <JEhlers@cov.com>; Kamin, Mitchell
   A <MKamin@cov.com>; Sperling, Jonathan <jsperling@cov.com>; Sahni, Neema T
   <nsahni@cov.com>; Lampros, Nicholas M. <nlampros@cov.com>; Hill, Phil <PAHill@cov.com>; Jeff
   Gould <Jeff@oandzlaw.com>; Scott Zebrak <Scott@oandzlaw.com>; Matt Oppenheim
   <Matt@oandzlaw.com>
   Cc: Skopec, Allison <ASkopec@winston.com>; Elkin, Michael <MElkin@winston.com>; Spitzer, Seth
   <SSpitzer@winston.com>; Golinveaux, Jennifer <JGolinveaux@winston.com>; Lane, Thomas
   <TLane@winston.com>; Alvarez, Cesie <CAlvarez@winston.com>; Padmanabhan, Krishnan
   <KPadmanabhan@winston.com>; Anderson, Sean <SRanderson@winston.com>
   Subject: RE: Warner Records v. Charter Communications; Case No. 19-cv-00874 - Notice Pursuant to
   Protective Order

   Erin,

   Thank you for your email. The Stipulated Protective Order requires that the parties try to resolve
   any dispute over an expert or consultant "in good faith on an informal basis." See Section 14(b).
   We've requested the information regarding Mr. Coleman's designation to assess whether Plaintiffs
   have an objection in the first instance, and if so, whether the parties might be able to reach
   agreement on the scope of materials to which Mr. Coleman would have access. In the spirit of
   resolving any issues on an informal basis, we think it makes sense to begin these discussions as soon
   as possible. To that end, we reiterate our request that Charter provide the subjects on which Mr.
   Coleman would consult or opine, and the categories of materials to which he would need access for
   that purpose.

   Best,
   Michael

   Michael Fields
   Pronouns: He/Him/His

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   From: Ranahan, Erin <ERanahan@winston.com>
   Sent: Tuesday, June 30, 2020 4:49 PM
   To: Fields, Michael <MFields@cov.com>; Ehlers, J. Hardy <JEhlers@cov.com>; Kamin, Mitchell A
   <MKamin@cov.com>; Sperling, Jonathan <jsperling@cov.com>; Sahni, Neema T <nsahni@cov.com>;
   Lampros, Nicholas M. <nlampros@cov.com>; Hill, Phil <PAHill@cov.com>; Jeff Gould
   <Jeff@oandzlaw.com>; Scott Zebrak <Scott@oandzlaw.com>; Matt Oppenheim
Case No. 1:19-cv-00874-RBJ-MEH Document 224-4 filed 07/30/20 USDC Colorado pg 12
                                    of 14


   <Matt@oandzlaw.com>
   Cc: Skopec, Allison <ASkopec@winston.com>; Elkin, Michael <MElkin@winston.com>; Spitzer, Seth
   <SSpitzer@winston.com>; Golinveaux, Jennifer <JGolinveaux@winston.com>; Lane, Thomas
   <TLane@winston.com>; Alvarez, Cesie <CAlvarez@winston.com>; Padmanabhan, Krishnan
   <KPadmanabhan@winston.com>; Anderson, Sean <SRanderson@winston.com>
   Subject: RE: Warner Records v. Charter Communications; Case No. 19-cv-00874 - Notice Pursuant to
   Protective Order

   [EXTERNAL]
   Counsel,

   We do not see anywhere in the Protective Order that requires Charter to specify how it intends to
   use Mr. Coleman in this case, the “subjects on which Mr. Coleman would consult or opine,” or “the
   categories of materials to which he would need access for that purpose.” This is not the opportunity
   for Plaintiffs to raise a Daubert challenge, it is simply an opportunity to raise unexpected or unknown
   conflicts to potential experts when conflicts appear clear on our end. Is there a certain subject area
   for which you object to Mr. Coleman as opposed to others? If so, Please explain how.

   Please also be reminded that the Protective Order requires that any objection Plaintiffs make to an
   expert be in good faith. Unfortunately, this is not the first time Plaintiffs have abused this disclosure
   process in this case, and we are very concerned Plaintiffs’ tactics to block legitimate potential
   experts from accessing materials necessary to perform necessary analysis in this case is designed to
   unnecessarily delay this case and Charter’s ability to meaningfully lodge a proper defense to
   Plaintiffs’ astronomical claims.

   Regards,

   -Erin

    Erin R. Ranahan
    Partner
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   From: Fields, Michael <MFields@cov.com>
   Sent: Tuesday, June 30, 2020 1:32 PM
   To: Anderson, Sean <SRanderson@winston.com>; Ehlers, J. Hardy <JEhlers@cov.com>; Kamin,
   Mitchell A <MKamin@cov.com>; Sperling, Jonathan <jsperling@cov.com>; Sahni, Neema T
   <nsahni@cov.com>; Lampros, Nicholas M. <nlampros@cov.com>; Hill, Phil <PAHill@cov.com>; Jeff
   Gould <Jeff@oandzlaw.com>; Scott Zebrak <Scott@oandzlaw.com>; Matt Oppenheim
   <Matt@oandzlaw.com>
   Cc: Ranahan, Erin <ERanahan@winston.com>; Skopec, Allison <ASkopec@winston.com>; Elkin,
Case No. 1:19-cv-00874-RBJ-MEH Document 224-4 filed 07/30/20 USDC Colorado pg 13
                                    of 14


   Michael <MElkin@winston.com>; Spitzer, Seth <SSpitzer@winston.com>; Golinveaux, Jennifer
   <JGolinveaux@winston.com>; Lane, Thomas <TLane@winston.com>; Alvarez, Cesie
   <CAlvarez@winston.com>; Padmanabhan, Krishnan <KPadmanabhan@winston.com>
   Subject: RE: Warner Records v. Charter Communications; Case No. 19-cv-00874 - Notice Pursuant to
   Protective Order

   Counsel:

   To assess Charter's proposed designation of Wayne Coleman as a "Qualified Person" under the
   Stipulated Protective Order, we need more specificity regarding how Charter intends to use Mr.
   Coleman in this case. Please let us know by tomorrow at noon PT the subjects on which Mr.
   Coleman would consult or opine, and the categories of materials to which he would need access for
   that purpose. Thank you.

   Best,
   Michael

   Michael Fields
   Pronouns: He/Him/His

   Covington & Burling LLP
   1999 Avenue of the Stars
   Los Angeles, CA 90067-4643
   T +1 424 332 4766 | mfields@cov.com
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   From: Anderson, Sean <SRanderson@winston.com>
   Sent: Friday, June 26, 2020 12:25 PM
   To: Ehlers, J. Hardy <JEhlers@cov.com>; Kamin, Mitchell A <MKamin@cov.com>; Sperling, Jonathan
   <jsperling@cov.com>; Sahni, Neema T <nsahni@cov.com>; Lampros, Nicholas M.
   <nlampros@cov.com>; Hill, Phil <PAHill@cov.com>; Fields, Michael <MFields@cov.com>; Jeff Gould
   <Jeff@oandzlaw.com>; Scott Zebrak <Scott@oandzlaw.com>; Matt Oppenheim
   <Matt@oandzlaw.com>
   Cc: Ranahan, Erin <ERanahan@winston.com>; Skopec, Allison <ASkopec@winston.com>; Elkin,
   Michael <MElkin@winston.com>; Spitzer, Seth <SSpitzer@winston.com>; Golinveaux, Jennifer
   <JGolinveaux@winston.com>; Lane, Thomas <TLane@winston.com>; Alvarez, Cesie
   <CAlvarez@winston.com>; Padmanabhan, Krishnan <KPadmanabhan@winston.com>
   Subject: Warner Records v. Charter Communications; Case No. 19-cv-00874 - Notice Pursuant to
   Protective Order

   [EXTERNAL]
   Counsel,

   Please be advised that Wayne Coleman is an “actual or potential independent expert[] or
   consultant[] … engaged in connection with this litigation” by Charter and is thus a “Qualified Person”
   under Section 5(a)(iii) of the Stipulated Protective Order. We are providing notice under Section 5(a)
Case No. 1:19-cv-00874-RBJ-MEH Document 224-4 filed 07/30/20 USDC Colorado pg 14
                                    of 14


   (iii). Please let us know if Plaintiffs object to Charter providing Mr. Coleman with materials
   designated by Plaintiffs as “Highly Confidential” under the Stipulated Protective Order.

   Regards,

    Sean R. Anderson
    Associate Attorney
    Winston & Strawn LLP
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